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STATE OF MINNESOTA                                                          DISTRICT COURT

COUNTY OF RAMSEY                                               SECOND JUDICIAL DISTRICT

                                                           Case Type: Personal Injury
Wesley Halvorsen,                                          Court File No.:

       Plaintiff,

vs.                                                                         SUMMONS

Evoqua Water Technologies, LLC,

       Defendant.


TO: THE ABOVE-NAMED DEFENDANT,EVOQUA WATER TECHNOLOGIES,LLC,
1010 DALE STREET NORTH,ST.PAUL,MN 55117.

        1.      YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
Plaintiff's Complaint against you is attached to this Summons. Do not throw these papers away.
They are official papers that affect your rights. You must respond to this lawsuit even though it
may not yet be filed with the Court and there may be no Court file number on this Summons.

       2.     YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS.
You must give or mail to the person who signed this Summons a written response called an
Answer within 20 days of the date on which you received this Summons. You must send a copy
of your Answer to the person who signed this Summons located at Meuser, Yackley & Rowland,
P.A., 10400 Viking Drive, Suite 250,Eden Prairie, MN 55344.

       3.      YOU MUST RESPOND TO EACH CLAIM. The Answer is your written
response to the Plaintiff's Complaint. In your Answer, you must state whether you agree or
disagree with each paragraph of the Complaint. If you believe the Plaintiff should not be given
everything asked for in the Complaint, you must say so in your Answer.

        4.      YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
SUMMONS. If you do not Answer within 20 days, you will lose this case. You will not get to
tell your side of the story, and the Court may decide against you and award the Plaintiff
everything asked for in the Complaint. If you do not want to contest the claims stated in the
Complaint, you do not need to respond. A Default Judgment can then be entered against you for
the relief requested in the Complaint.

       5.      LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you
do not have a lawyer, the Court Administrator may have information about places where you can
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get legal assistance. Even if you cannot get legal help, you must still provide a written
Answer to protect your rights or you may lose the case.

       6.      ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
ordered to participate in an alternative dispute resolution process under Rule 114 of the
Minnesota General Rules ofPractice. You must still send your written response to the
Complaint even if you expect to use alternative means of resolving this dispute.




Dated: II"
                             Daniel B. Harrison (#0400098)
                            (952)207-2209
                             Lindsey M.Rowland(#0400226)
                             952-641-2399
                             Attorney for Plaintiff
                             Meuser, Yackley & Rowland,P.A.
                             10400 Viking Drive, Suite 250
                             Eden Prairie, MN 55344
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STATE OF MINNESOTA                                                             DISTRICT COURT

COUNTY OF RAMSEY                                                 SECOND JUDICIAL DISTRICT

                                                             Case Type: Personal Injury
Wesley Halvorsen,                                            Court File No.:

      Plaintiff,

vs.                                                                            COMPLAINT

Evoqua Water Technologies, LLC,

       Defendant.

TO: THE ABOVE-NAMED DEFENDANT,EVOQUA WATER TECHNOLOGIES,LLC,
1010 DALE STREET NORTH,ST. PAUL,MN 55117.


       Plaintiff, for his cause of action against the Defendant, states and alleges as follows:

                                                 I.

       That, Plaintiff Wesley Halvorsen ("Plaintiff'), at all times material and relevant hereto,

resided in the City of Woodbury, County of Washington, State of Minnesota



       That upon information and belief, at all times material hereto, Defendant Evoqua Water

Technologies, LLC("Defendant"), is a foreign limited liability corporation and at all times

material and relevant hereto licensed to do business, and was doing business, in the State of

Minnesota having its last known registered address at 1010 Dale Street North, in the City of St.

Paul, County ofRamsey,State of Minnesota.
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                                                HI.

       That, on or about March 11, 2020, Plaintiff Wesley was acting in the course and scope of

his employment with the City of Roseville Fire Department, located in the County of Ramsey,

State of Minnesota.

                                                IV.

       That, on the aforementioned date, an alarm sounded at Defendant's building at 2430 Rose

Place West in the City of Roseville, County of Ramsey, State of Minnesota.

                                                V.

       That, at the aforementioned time and place, Plaintiff, while acting in the course and scope

of his employment, responded to the alarm at Defendant's facility at the aforementioned address.

2430 Rose Place West in the City of Roseville, County of Ramsey, State of Minnesota

                                    COUNT I: NEGLIGENCE

                                                VI.

       Plaintiff realleges and restates paragraphs I through V as if set forth herein.

                                                VII.

       That, at the aforementioned time and place, Plaintiff was exposed to a safety hazard as he

entered the Defendant's building.

                                                VIII

       Defendant owed a duty to Plaintiff to exercise due care and caution for his safety and to

act reasonably and prudently under the circumstances then existing.
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                                               IX.

       That, as a direct and proximate result of the negligence, and recklessness of Defendant,

Plaintiff was thereby severely and permanently injured in mind and body, and so remains and

will permanently suffer great bodily harm and mental pain.

                                                X.

       That, by virtue of his injuries, Plaintiff has incurred large expenses for medical services,

including but not limited to, hospital expenses, physicians' expenses, medicines, nursing,

medical travel expenses, and other medical expenses in endeavoring to cure himself of his

injuries, and will incur such expenses in the future, all to his damage in an amount undetermined

at this time.

                     COUNT II: IMPROVEMENT TO REAL PROPERTY

                                                XI.

       Plaintiff realleges and restates paragraphs I through X as if set forth herein.

                                                XII.

        Upon information and belief, an improvement to real property was added to Defendant's

building located at 2430 Rose Place West in the City of Roseville, County of Ramsey, State of

Minnesota.

                                                XII.

        Upon information and belief, the aforementioned improvement to real property was

defective and unsafe, as it caused a safety hazard.

                                               XIII.

        Upon information and belief, Plaintiff incurred great bodily injury which arose out of the

defective and unsafe conditions.
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                                                 XIV.

          Upon information and belief, the defective and unsafe improvement to real property was

a substantial factor and/or proximate cause ofPlaintiff's great bodily injury.

                                                  XV.

          Plaintiff prays for the judgement against Defendant herein for all liability benefits due

and owing from and after March 11, 2020, together with statutory interests, costs, and

 disbursements herein.

          WHEREFORE,Plaintiff Wesley Halvorsen demands judgment against Defendant

 Evoqua Water Technologies, LLC for a reasonable sum in excess of fifty thousand dollars

($50,000.00), together with interest, costs, and disbursements herein.




 Dated:   2-/ 7/IS
                                 Daniel B. Harrison (#0400098)
                                (952)207-2209
                                 Lindsey M.Rowland(0400226)
                                (952)641-2399
                                 Attorney for Plaintiff
                                 Meuser, Yackley & Rowland,P.A.
                                 10400 Viking Drive, Suite 250
                                 Eden Prairie, MN 55344
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                                    AICNOWLEDGMENT


        The undersigned hereby acknowledges that costs, disbursements and reasonable attorney and
witness fees may be awarded pursuant to Minn. Stat. § 549.211 to the party against whom the
allegations in this pleading are asserted.




Dated: 2/17/ 1.
                             Daniel B. Harrison(#0400098)
                            (952)207-2209
                             Lindsey M. Rowland(0400226)
                            (952)641-2399
                             Attorney for Plaintiff
                             Meuser, Yackley & Rowland,P.A.
                             10400 Viking Drive, Suite 250
                             Eden Prairie, MN 55344
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C0k)(                   CLIP/M1
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             FORM 22 - NOTICE AND ACKNOWLEDGMENT OF SERVICE BY M IL                                pt
   vq,c1-cl ttatvovwh V               NOTICE                                                            ts,hLk-
                               .
             01(AA (NI btilf/V- '"-Kanyt.61, 60 u-6)       LL__L
        - TO:'(insert the name and address of the/person to be served.)

            The enclosed summons and complaint are served pursuant to Rule 4.05 of the
          Minnesota Rules of Civil Procedure.

             You must complete the acknowledgment part of this form and return one copy of the
          completed form to the sender within 20 days.

              Signing this Acknowledgment of Receipt is only an admission that you have received
          the summons and complaint, and does not waive any other defenses.

             You must sign and date the acknowledgment. If you are served on behalf of a
          corporation, unincorporated association (including a partnership), or other entity, you
          must indicate under your signature your relationship to that entity. If you are served on
          behalf of another person and you are authorized to receive process, you must indicate
          under your signature your authority.

              If you do not complete and return the form to the sender within 20 days, you (or the
          party on whose behalf you are being served) may be required to pay any expenses
          incurred in serving a summons and complaint in any other manner permitted by law.

              If you do complete and return this form, you (or the party on whose behalf you are
          being served) must answer the complaint within 20 days. If you fail to do so,judgment
          by default will be taken against you for the relief demanded in the complaint.

              I declare, under penalty of perjury, that this Notice and Acknowledgment of Receipt
          of Summons and Complaint was mailed on (insert date).


           Signature


           Date of Signature

                 ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND COMPLAINT

              I declare, under penalty of perjury, that I received a copy of the summons and of the
           complaint in the above-captioned matter at (insert address).


           Signature
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Relationship to Entity/Authority to
Receive Service ofProcess


Date of Signature

(Added March 21, 1985, effective July 1, 1985.)
